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                                                                                              08/27/2024


               IN THE SUPREME COURT OF THE STATE OF MONTANA                               Case Number: PR 06-0544


                                         PR 06-0544


IN RE PETITION OF RACHEL G. INABNIT FOR
REINSTATEMENT TO ACTIVE STATUS IN THE                                     ORDER
BAR OF MONTANA



         Rachel G. Inabnit has petitioned for reinstatement to active status in the State Bar
of Montana. Inabnit was placed on inactive status by the State Bar of Montana pursuant to
Rules 3B2, 5, and 13 of the Rules for Continuing Legal Education (CLE) on August 11,
2024, as a result of noncompliance with CLE requirements. In accordance with Rule 13
of the CLE Rules, Inabnit has provided a letter from the State Bar certifying that Inabnit
has now completed all CLE requirements "through the reporting year that ended March 31,
2024."
         The Petition indicates Inabnit is or has not been: 1) suspended, disbarred, or
otherwise ineligible to practice of law in another jurisdiction and is not currently subject to
disciplinary proceedings or pending disciplinary proceedings in another jurisdiction,
2) charged with a criminal offense, 3) accrued delinquent debt or filed for bankruptcy,
4) failed to fulfill the obligations of a public office or professional license, or 5) committed
any violations of the Rules of Professional Conduct while on inactive status. Good cause
appearing,
         IT IS HEREBY ORDERED that the petition of Rachel G. Inabnit for reinstatement
to active status in the State Bar of Montana is GRANTED.
         The Clerk is directed to provide copies of this order to the Petitioner and the State
Bar of Montana.
         DATED this23' day of August, 2024.


                 FILED                                              hief justice
                 AUG 2 7 2024
               Bowen Greenwoocl
             Clerk of Supreme Court
                statp, of Montana
    m
    Justices




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